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                                    12
                                                                    UNITED STATES DISTRICT COURT
      Las Vegas, NV 89148




                                    13
                                                                         DISTRICT OF NEVADA
                                    14
                                    15         Sam Gabrielle,                                      Case No:
                                    16
                                                              Plaintiff,                           Complaint for Damages and
                                    17         v.                                                  Injunctive Relief Pursuant to the
                                    18                                                             Telephone Consumer Protection
                                               Loft Associates, LLC, dba Cheddar                   Act, 47 U.S.C. § 227, et seq.
                                    19         Express,
                                    20                                                             Jury Trial Demanded
                                                               Defendant.
                                    21
                                    22
                                    23
                                    24
                                                                                   INTRODUCTION
                                    25
                                         1. Sam Gabrielle (“Plaintiff”) brings this Complaint for damages, injunctive relief,
                                    26
                                             and any other available legal or equitable remedies, resulting from the illegal
                                    27
                                             actions of Loft Associates, LLC, dba Cheddar Express (“Defendant”), in
                                    28

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                                     1       negligently and/or intentionally contacting Plaintiff on Plaintiff’s cellular
                                     2       telephone, in violation of the Telephone Consumer Protection Act, 47 U.S.C. §
                                     3       227, et seq. (the “TCPA”), thereby invading Plaintiff’s privacy. Plaintiff alleges
                                     4       as follows upon personal knowledge as to himself and his own acts and
                                     5       experiences, and, as to all other matters, upon information and belief, including
                                     6       investigation conducted by his attorneys.
                                     7   2. The TCPA was designed to prevent calls and text messages like the ones
                                     8       described within this complaint, and to protect the privacy of citizens like
                                     9       Plaintiff. “Voluminous consumer complaints about abuses of telephone
                                    10       technology – for example, computerized calls dispatched to private homes –
                                    11       prompted Congress to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S.
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                                    12       Ct. 740, 744 (2012).
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                                    13   3. In enacting the TCPA, Congress intended to give consumers a choice as to how
                                    14       creditors and telemarketers may call them, and made specific findings that
                                    15       “[t]echnologies that might allow consumers to avoid receiving such calls are not
                                    16       universally available, are costly, are unlikely to be enforced, or place an
                                    17       inordinate burden on the consumer. TCPA, Pub.L. No. 102–243, § 11. Toward
                                    18       this end, Congress found that
                                                    [b]anning such automated or prerecorded telephone calls to the
                                    19
                                                    home, except when the receiving party consents to receiving the
                                    20              call or when such calls are necessary in an emergency situation
                                                    affecting the health and safety of the consumer, is the only
                                    21
                                                    effective means of protecting telephone consumers from this
                                    22              nuisance and privacy invasion.
                                    23       Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL
                                    24       3292838, at* 4 (N.D. Ill. Aug. 10, 2012) (citing Congressional findings on
                                    25       TCPA’s purpose).
                                    26   4. Congress also specifically found that “the evidence presented to the Congress
                                    27       indicates that automated or prerecorded calls are a nuisance and an invasion of
                                    28

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                                     1        privacy, regardless of the type of call. . . .” Id. at §§ 12-13. See also, Mims, 132
                                     2        S. Ct. at 744.
                                     3                                     JURISDICTION AND VENUE
                                     4   5. This Court has federal question jurisdiction pursuant to 28 U.S.C. §1331
                                     5        because this case arises out of a violation of the TCPA, a federal law.
                                     6   6. Venue is proper in the United States District Court for the District of Nevada
                                     7        pursuant to 28 U.S.C. §1391 because (i) at all times relevant to this matter
                                     8        Plaintiff resided within this judicial district; (ii) the harm complained of herein
                                     9        occurred within this judicial district; and (iii) many of the acts and transactions
                                    10        giving rise to this action occurred in this district because Defendant is a foreign
                                    11        corporation doing business in Nevada and
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                                    12               (a) conducts business in this district and has intentionally availed itself to
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                                    13                   the laws and markets within this district;
                                    14               (b) does substantial business within this district;
                                    15               (c) is subject to personal jurisdiction in this district because it has availed
                                    16                   itself of the laws of Nevada; and
                                    17               (d) caused harm to Plaintiff within this district.
                                    18                                                 PARTIES
                                    19   7.     Plaintiff, at all times mentioned herein, was a resident of Clark County,
                                    20          Nevada. Plaintiff is, and at all times mentioned herein was, a “person” as
                                    21          defined by 47 U.S.C. §153(39).
                                    22   8.     Upon information and belief, Defendant is, and at all times mentioned herein
                                    23          was, corporation doing business in Nevada, registered with the New York
                                    24          Secretary of State, and is a “person as defined by 47 U.S.C. §153(39).
                                    25   9.     Upon information and belief, Defendant is a company and owner (or frequent
                                    26          user) of one or more of the telephone numbers used by Defendant to send text
                                    27          messages and make telephone calls to Plaintiff in violation of the TCPA.
                                    28

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                                     1                                       FACTUAL ALLEGATIONS
                                     2   10.     Within the four years prior to filing the instant complaint, Plaintiff received
                                     3           numerous text messages and calls from Defendant (“the messages” and “the
                                     4           calls”).
                                     5   11.     Starting in approximately late 2016 to early 2017, Defendant began sending
                                     6           text messages and making phone calls to Plaintiff’s cellular telephone even
                                     7           though Plaintiff had never had any previous business relationship with
                                     8           Defendant.
                                     9   12.     Defendant sent text messages and called Plaintiff numerous times on
                                    10           Plaintiff’s cellular telephone ending in 1686.
                                    11   13.     Upon information and belief, Defendant spoofed its phone number, causing
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                                    12           Plaintiff to be called from numerous different phone numbers.
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                                    13   14.     Plaintiff never dealt with Defendant in any manner, including any business
                                    14           with Defendant.
                                    15   15.     At no time did Plaintiff give prior written, express consent for Defendant to
                                    16           contact Plaintiff on his cellular telephone.
                                    17   16.     Indeed, Plaintiff told Defendant multiple times to stop calling.
                                    18   17.     For example, Defendant sent Plaintiff a text message on or about February 23,
                                    19           2017 read as follows: “Your Business has been PRE-APPROVED for Capital
                                    20           Advance up to $250K. Please reply “CHEDDAR” or call 844-887-8082 to
                                    21           Get Funded. reply “STOP” to opt-out.”
                                    22   18.     Plaintiff received the following unwanted text messages from Defendant:
                                    23   ///
                                    24   ///
                                    25   ///
                                    26   ///
                                    27   ///
                                    28   ///

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                                         COMPLAINT                                      !4
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                                         19.     After receiving the text messages Plaintiff called Defendant, where Plaintiff
                                    16
                                                 asked once more for Defendant to stop calling him and sending him text
                                    17
                                                 messages, at that point Defendant told Plaintiff that the calls and text
                                    18
                                                 messages were automated and made from a computer system.
                                    19
                                         20.     Upon information and belief, Defendant sent text messages and placed the
                                    20
                                                 calls using an “automatic telephone dialing system,” (“ATDS”) as defined by
                                    21
                                                 47 U.S.C. §227(a)(1), and as prohibited by 47 U.S.C. §227(b)(1)(A).
                                    22
                                         21.     The text messages and calls were not for emergency purposes as defined by
                                    23
                                                 47 U.S.C. §227(b)(1)(A)(i).
                                    24
                                         22.     Upon information and belief, the ATDS used by Defendant has the capacity to
                                    25
                                                 store or produce telephone numbers to be messaged and called using a
                                    26
                                                 random or sequential number generator.
                                    27
                                    28

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                                         COMPLAINT                                      !5
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                                     1   23.     Upon information and belief, the ATDS used by Defendant has the capacity
                                     2           to, and does, send text messages and dial telephone numbers stored as a list or
                                     3           in a database without human intervention.
                                     4   24.     The text messages and calls were placed to a telephone number assigned to a
                                     5           cellular telephone service for which Plaintiff incurs charges.
                                     6   25.     The text messages and calls were unwanted by Plaintiff.
                                     7   26.     Defendant did not have prior, express written consent to send text messages or
                                     8           to place calls to Plaintiff.
                                     9   27.     Through Defendant’s aforementioned conduct, Plaintiff suffered an invasion
                                    10           of a legally protected interest in privacy, which is specifically addressed and
                                    11           protected by the TCPA.
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                                    12   28.     Plaintiff received numerous unwanted text messages and calls within the four
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                                    13           years preceding the filing of the complaint while he was at work and at home.
                                    14   29.     Plaintiff was personally affected by Defendant’s aforementioned conduct
                                    15           because Plaintiff was frustrated and distressed that Defendant interrupted
                                    16           Plaintiff with unwanted calls and text messages, using an ATDS and
                                    17           prerecorded voices.
                                    18   30.     The text messages and calls forced Plaintiff to live without the utility of his
                                    19           cellular phone by occupying his cellular telephone with unwanted text
                                    20           messages and calls, causing a nuisance and lost time.
                                    21   31.     The text messages and calls to Plaintiff’s cellular telephone number were
                                    22           unsolicited by Plaintiff and without Plaintiff’s permission or consent.
                                    23   32.     Plaintiff is informed, believes, and there upon alleges that the text messages
                                    24           and calls were made by Defendant and/or Defendant’s agent(s), with
                                    25           Defendant’s permission, knowledge, control and for Defendant’s benefit.
                                    26   33.     Through the aforementioned conduct, Defendant has violated 47 U.S.C.
                                    27           §227(b)(1)(A)(iii).
                                    28

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                                         COMPLAINT                                      !6
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                                     1   34.     Further, Defendant’s violations caused Plaintiff to suffer a real and concrete
                                     2           harm because when Defendant messaged and called Plaintiff, Plaintiff’s time
                                     3           was wasted on phone calls and text messages with Defendant when Defendant
                                     4           had no right to contact Plaintiff. Defendant also consumed and wasted
                                     5           Plaintiff’s cellphone battery life. Plaintiff also suffered from frustration and
                                     6           annoyance which the TCPA was enacted to prevent. See, e.g., Mey v. Got
                                     7           Warranty, Inc., No. 5:15-CV-101, 2016 U.S. Dist. LEXIS 84972, at *8
                                     8           (N.D.W. Va. June 30, 2016) (“[S]uch calls also cause intangible injuries,
                                     9           regardless of whether the consumer has a prepaid cell phone or a plan with a
                                    10           limited number of minutes. The main types of intangible harm that unlawful
                                    11           calls cause are (1) invasion of privacy, (2) intrusion upon and occupation of
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                                    12           the capacity of the consumer’s cell phone, and (3) wasting the consumer’s
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                                    13           time or causing the risk of personal injury due to interruption and
                                    14           distraction.”).
                                                                         FIRST CAUSE OF ACTION
                                    15
                                                                   NEGLIGENT VIOLATIONS OF THE TCPA
                                    16                                    47 U.S.C. §227 et seq.
                                    17   35.     Plaintiff incorporates by reference all above paragraphs as though fully stated
                                    18           herein.
                                    19   36.     The foregoing acts and omissions of Defendant constitute numerous and
                                    20           multiple negligent violations of the TCPA, including but not limited to each
                                    21           and every one of the above-cited provisions of 47 U.S.C. §227, et seq.
                                    22   37.     As a result of Defendant’s negligent violations of 47 U.S.C. §227 et seq,
                                    23           Plaintiff is entitled to an award of $500.00 in statutory damages, for each and
                                    24           every violation, pursuant to 47 U.S.C. §227(b)(3)(B).
                                    25   38.     Plaintiff is also entitled to, and seeks, injunctive relief prohibiting such
                                    26           conduct in the future.
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                                         COMPLAINT                                      !7
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                                                                   SECOND CAUSE OF ACTION
                                     1
                                                        KNOWING AND/OR WILLFUL VIOLATIONS OF THE TCPA
                                     2                               47 U.S.C. §227 et seq.
                                     3   39.     Plaintiff incorporates by reference all above paragraphs as though fully stated
                                     4           herein.
                                     5   40.     The foregoing acts and omissions of Defendant constitute numerous and
                                     6           multiple knowing and/or willful violations of the TCPA, including but not
                                     7           limited to each and every one of the above-cited provisions of 47 U.S.C.
                                     8           §227, et seq.
                                     9   41.     As a result of Defendant’s knowing and/or willful violations of 47 U.S.C.
                                    10           §227 et seq, Plaintiff is entitled to an award of $1,500.00 in statutory damages
                                    11           for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(C).
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                                    12   42.     Plaintiff is also entitled to, and seeks, injunctive relief prohibiting such
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                                    13           conduct in the future.
                                    14                                         PRAYER FOR RELIEF
                                    15           Plaintiff respectfully requests the Court to grant Plaintiff the following relief
                                    16   against Defendant:
                                    17           •   Provide injunctive relief prohibiting Defendant’s unlawful conduct in the
                                    18               future, pursuant to 47 U.S.C. §227(b)(3)(A);
                                    19           •   Award statutory damages of $500.00 for each of Defendant’s negligent
                                    20               violations of 47 U.S.C. §227(b)(1), pursuant to 47 U.S.C. §227(b)(3)(B);
                                    21           •   Award statutory damages of $1,500.00 for each of Defendant’s knowing
                                    22               and/or willful violations of 47 U.S.C. §227(b)(1), pursuant to 47 U.S.C.
                                    23               §227(b)(3)(C); and
                                    24           •   Any other relief the Court deems just and proper.
                                    25   ///
                                    26   ///
                                    27   ///
                                    28   ///

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                                         COMPLAINT                                      !8
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                                     1                                            TRIAL BY JURY
                                     2   43.     Pursuant to the Seventh Amendment to the Constitution of the United States
                                     3           of America, Plaintiff is entitled to, and demands, a trial by jury
                                     4
                                     5   DATED this 1st day of November 2018.
                                     6                                                       Respectfully submitted,
                                     7
                                                                                             KAZEROUNI LAW GROUP, APC
                                     8
                                     9                                                       By: /s/ Michael Kind
                                                                                                 Michael Kind, Esq.
                                    10
                                                                                                 6069 S. Fort Apache Rd., Ste. 100
                                    11                                                           Las Vegas, NV 89148
                                                                                                 Attorneys for Plaintiff
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                                         COMPLAINT                                      !9
